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EXHIBIT E
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LEVELS OF DENIAL

1) Denial of the act ~ “I didn’t do it?”
“Tt didn’t happen.”
“She’s lying.”
“I’m being framed!”

2) Denial of Intent — “J did it, but I didn’t mean to!”
“Tt was an accident.”
“I just brushed up against her.”
“But I was drunk! I didn’t know what I was doing.”

3) Blaming the Victim -- “Y did it, but it’s really ber fault”
“She was wearing a sexy dress.”
“She didn’t say no.”
“He continued to be my friend.”
“He didn’t stop me.”

4) Denial of Fantasy & Planning — “J did it, but I didn’t plan it.”
“Ft just happened.”
“T wasn’t sexually excited.”
“T didn’t think about it before I did it.”
“T never fantasized about her.”

5) Denial of Frequency — “I did it— but it only happened once.”
“I only did it a few times.”
“IT stopped after a month or so.”

“She exaggerated how long it went on.”

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Levels of Denial (cont’d)

6) Denial of Intrusiveness — “I did it, but it didn’t go as far as she said.”
“T just fondled her.”
“I didn’t penetrate her like she said.”
“I threatened him, but didn’t use ferce.”

7) Denial of Harm — “I did it, but he wasn’t really burt.”
-“FYe didn’t seem to care.”
“She wasr’t upset at all. She liked it.”
“She ended up getting married and having kids; so it didn’t affect her life.”

8) Overall Minimization — “Yeah, I did it, but it wasn’t that bad!”
“ just touched her once.”
“At least I didn’t penetrate her.”

9) Denial of the Need for Treatment — “T did it, but ’m over it now!”
“Tt will never happen again.”
“Tt was a one time thing.”
“’ve learned my lesson. I won't ever let myself go back to prison.”

“T’ve grown out of that.”

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THINKING ERRORS OF SEX OFFENDERS: Part I

Sex offenders know that their offending is wrong, but they allow themselves to offend anyway.
They get past their conscience by telling themselves that what they are doing is not that bad.
That is, they use “thinking errors” to minimize, justify, and rationalize their offending.

For example: A sex offender might rationalize his offense by thinking that the victim

wanted the sexual contact, or that the sexual contact didn’t really burt the
victim.

By thinking distorted thoughts, sex offenders can pretend that their behavior is not that harmful

and can avoid taking full responsibility for their behavior. We call these distorted thoughts
“thinking errors.”

Sex offenders use thinking errors in many areas of their lives:

« To avoid treatment
* To continue leading a dysfunctional lifestyle.

For example: An offender might use thinking errors to justify his continued use
of pomography or drugs. By using thinking errors, the sex offender

can justify his deviant behavior and can feel that he has power and
control. *

In order for an offender to make changes in his life, he must recognize and correct his thinking

errors. Otherwise, he is likely to continue hurting others and leading a sel&destructive lifestyle.
Offenders may use some or all of these thinking errors:

1) Making Excuses

The offender offers excuses as a way to avoid taking responsibility for his behavior.
* “| was drunk at the time.”

e “We were all pretty crazy that night.”

s “My wife and I were having problems that year.”

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- Thinking Errors of-Sex Offenders (contd)
2) Minimizing

The offender minimizes the seriousness of his offending. He makes it seem like his offense was
“not that bad.”

‘ # “YT just fondled her one time.”
* “] didn’t use force.”

e “He had already been molested by someone else.”

3}- Blaming

The offender blames others as a way to avoid looking at his own responsibility. Through
blaming, he can encourage others; such as his family, to direct their anger at someone else who
“caused” the problem. This takes the heat off of the offender.

“The detective was out to get me and my family.”

e. “That little slut accuses everyone of touching her.”
@ “She was wearing a short skirt and no bra.”
« “He asked me about the birds and the bees.”

4) Lymg

Offenders lie in-order to avoid taking responsibility for their behavior. The offender makes up
things that are simply not tue. ,

e “y didn’t do it.”

e “Twas falsely accused.”

Or he leaves out important details and presents the information in such a way that he looks good.

« “My step-danghter came into my room and demanded to sleep with me the night I
molested her.”

But, the offender does not tell the full story: The child went to his room because she was
frightened by a thunderstorm and was looking for a safe place.

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Thinking Errors of Sex Offenders (contd)

5) Avoiding Detail

The offender talks in vague or general terms so he can’t be confronted about the exact details of
his offending. He may use-phrases such as “I guess,” “in a sense,” “I don’t remember exactly,”
or “you might say.” ,

® “IT can’tremember how old he was.”

* “T guess that it went on for some time.”

6) Seeking Sympathy

The offender tries to get others to feel sorry for him. This way, the offender can make it harder
for others to be angry with him and confront him. ©

« “No one ever believes me. I may as well just give up.”

e “Thave a bad back so I’m in pain most of the time.”

7) Playing the Victim

The offender presents himself as a victim in order to manipulate others.
e Ifhbe can portray himselfas a victim, then he can get others to rescue and defend him.
* He can also distract them from thinking about his offending.

> The offender may develop problems, such as an illness or depression as away
to be a victim.

> He may also spend a great deal of time talking about his own abuse as a child.

e lf the offender can become a victim, then he does not have to recognize himself as an .
offender.

> “You always pick on me in group.”
> “Nobody cares about me anyway.”

> “My ex-wife destroyed my life and left me with nothing.”

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Thinking Errers of Sex. Offenders, Playing the Victim (cont’d)
> “Lhave fo eat peanut butter sandwiches to be able to pay for treatment.”
> “My back pain is so awful I can’t sit through group.”

8) Changing the Subject

The offender either changes the subject or shifts the focus off of him. This allows the offender to

avoid dealing-with-the real issues.

Question: “Why were you late to group?”
Answer: “I liked my old group better.”

Question: “Have you scheduled your polygraph exam?”
Answer: “J’m very concemed about the validity of polygraphs.”

Question:. “Why haven’t you brought in the victim statements like you promised?”
Answer: “Why can’t you just go to the courthouse and get it?”

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THINKING ERRORS: Part 2

9) Distracting
The offender distracts the group from important issues by bringing up side issues.
He-may try to-stir up controversy and heated debate about these side“issues.

e “Tm sure the polygraph is ngged.”

© “The therapists, are conspiring with the probation officers to make us come to treatment
forever.” .

10) Seeking Approval
The offender purposely does things in order to get attention or approval from others.
" He wants to‘be praised and to avoid feeling badly.

For example: The offender may type his homework assignments as a way to get
praise from the group therapist. He may try to act like the “teacher’s pet”
or he may try to impress the group.

The offender is looking for attention, not to learn or to change his behavior.

e “Tjust wanted to tell the group that J haven’t bought a lottery ticket in a whole week. I
think I’m finally gaining control of that addiction.” The client had really bought a lottery
ticket that moming, but he lied in order to seek approval.

11) Mr. Nice Guy
The offender pretends to be nice when he is actually trying to manipulate someone. ,

® He may use this niceness to make the other person feel indebted to him, like they have to
return a favor.

He may also present himself as being super-religious or overly sentimental by declarmg his
compassion for babies, the disabled, elderly, and pets. _

e The offender’s sentimentality and religiousness quickly disappear, however, when the
offender acts out his sexual deviancy.

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Thinking Errors, Mr. Nice Guy (cont’d)
* He uses this fake sentimentality to hide his true lack of empathy and caring. —
> “Tjust love little kids.”
> 4 really want to do volunteer work with the elderly. Someone needs to care for
them.”
12) Mr. Unique
The offender believes that he is so special that the rules do not apply to him.
® He feels thathe is better or different from the other offenders.

> Offenders use. this thinking e1 error in treatment w. shen they donot want to shear
“feedback from others.

> When other offenders are talking, this offender may appear to be bored or will
‘daydream.

® This offender may also view himself as being closer to the treatment staff than other
offenders and may hang around to talk to staff before or after group.

13) Making Others Look Foolish
The offender uses this technique to make other people look stupid.

« As other people start to show faith in the offender, he will let them down by failing,
thereby making others look foolish for counting .on him.

For example: Tf the therapist compliments the offender for his work in
treatment, then he will then fail the next assignment as a way to
take the therapist look foolish.

14) Assuming
The offender assumes that he knows how others think and feel.
® This is part of the offender’s arrogance,
> “[knew you wouldn’t mind ifI missed group for the church service.” .

> ©The group confronts me more because I’m black.”

> “She must have enjoyed it because she closed her eyes.”

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Thinking Errors (cont’d)

15) Usirg Anger

The offender uses anger to manipulate and control others.
* Ifhe is confronted about a problem, he may vse anger to distract others from his problem.
* He may also use anger as a way to get attention and as a way to scare off others from

confronting him.
16). Fighting
_ The offender tries to get others to fight by providing information that is upsetting to others.

e The offender may then try to resolve the conflict so‘he looks like a hero.

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THINKING ERRORS: Part 3

17) Playing Confused
" The offender presents himself as puzzled and confused.

@ Others then spend time trying to address his confusion, thereby distracting-from the real
issue.

e@ Ifthe offender acts confused, then it is difficult for others to confront him.

e The offender will appear to be cooperative and trying to follow the rules when he is
actually just pretending to be confused.

18) Silence .
The offender is quiet during group and refuses to participate in discussions.

* This allows the offender to avoid working om his problems.

19) People Pleasing
The offender tells people what they want to hear so they will like him.

* This is also a way to manipulate and control others by making if difficult for them to
confront the offender.

A similar strategy is to always agree with others as a way to avoid confrontation.

20) Acting Overly Optimistic .
The offender acts overly positive in order to avoid looking at the reality of his offending.
« He will work hard at being cooperative, helpful, and supportive of others.

e Rather than thinking about his offense and the damage to the victim, he tries to focus on
the positive.

e He may give compliments or make frequent jokes in group as a way to avoid focusing on
the negative aspects of the offending.

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Thinking Errors (cont’d)
21) Suddenly Cured
The offender claims that he has Jearned his lesson and is suddenly cured.

¢ He thinks that he doesn’t need to spend time doing the homework since he has already
learned from his mistakes. .

> “J didn’t feel aroused when that girl sat in my lap, so I must be over my

problem now.”

> “Tye found God now, So Ill never re-offend.”

22) Putting Others on the Defensive
The offender attacks others to make others the focus of confrontation.

© This allows the offender to act superior and assume the role of “teacher.”

23) My Way
The offender insists on doing things his way because he wants to feel powerful and in control.
¢ He resists the rules of treatment, either directly or indirectly.

for example: He may resist answering someone’s question by giving a

response that has nothing do with the question asked. Or
he may pretend to misunderstand the mules or homework.
assignments.

e The offender is basically showing that he wants things his way and does not want to feel
controled.
24) Take Anything
The sex offender has the attitude that he can take anything he wants.
e He tends to be self-centered and think that people are objects for him to use.

For example: When a sex offender sees an attractive woman, he
automatically regards her as his bed partner. This attitude also
shows itself when an offender assumes that he can take things
he wants, such as a pen from his therapist's office.

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